             Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 1 of 22
AO243(R                                                                                           FILED by            e1 D.C,
           ov.10/07)
                       l                                                     .

                           Mo-nox uxosRzsu.s.c.#22ssvovacv s,ssvAslos,op com tscv                     FEa 12 2,1,
                                   ssxrExcssv apspsox m psos-         cusvoov                       C
                                                                                                    sr
                                                                                                     Ln
                                                                                                      Ev.
                                                                                                       BKsv
                                                                                                         tJ $.pl
                                                                                                              ,t$T,
                                                                                                              .
                                                                                                                 lvoo
                                                                                                                   CT,
United StatesllistrictCourt southern               Diskict of Florlda x1..4 Divïsion                                      -
N ame(underwhichyouwereconvicttd):                                                 D ocketorCaseN o.:
           EDGAR ALZATE JARAMILLO
AlaceofConfinement:                                                PrisonerNo.:
      FC1 Beaumont Low                                               06201-104
UNITED STATES OF AM ERICA                                       M ovant(includenameunderwhiohconvicted)
                                                             EDGAR ALZATE JARAMILLO

                                                  M O TION

           (a)Name andlocationofcourtwhichenteredthejudgmentofconvictionyouarechallenging: United         -   States
       '
           District Court for the Southern District of Florida, Miami Division, 400 N. Miamf
           Avenue, 8th Floor, Miami, FL 33128.


           (b)Criminaldocketorcasenumber(ifyou know):1:13-20440-CR-KIN> 001
   2. (a)Dateofthejudgmentofconviction(ifyouknowl: October 29, 2015          -



      (b)Dateofsentencing: April 14, 2016 (See E%hibit A - Judgmgpt)
       LenMh ofsentence: 210 months impriéonment. 5 vears suoervised release. $100 spcl nssessment.

       Namreofcrimetallcounts): Count 1: conspiracy to distribute five Kiloarams or more of
           cocaine for unlawful importation in to the United States'
                                                                   . Violation of 21 U .S.C.

           j 963 (See Exhibit A - Judgment).




       (a)W hatwœsyourplea? (Check one)
                (1)Notguilty Z                (2)Guilty Ex()            (3)Nolocontendere(noconttst)

       (b)lfyouenteredaguiltypleatoonecountorindictment,andanotguiltypleatoanothercountor                         -


       whatdidyoupleadguil
                         tytoandwhatdidyoupleadnotguiltyto?sjx                   r aN                             /V
                                                                         Case #
                                                                         Judge                  Mag




       Ifyouwenttptrial,whatkindoftrialdidyouhave? (Cheokone) N/A Jurygrq                     JudgeonlyI--I
        Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 2 of 22
                                                                                                            Page2
AO243(Rev.10/07)                                           Rule 11 Hearing, and at
                                                           Sentencing

   7. D id you testify ata pretrialhearing,trial,orpost-trialhearing?        YesExq          No ((()
        Didyouappealfrom thejudgmentofconviction?              Yes(((q            No(il
        Ifyou did appeal,answerthefollowing:
        (a) Nameofcourt:
        (b) Docketorcasenumber(ifyouknowl:                               -



        (c) ltesult:
        (d)Dateofresult(ifyonknowl:
        (e)Citationtothecase(ifyouknowl:
        (9 Groundsraised:




        (g)DidyoufileapetitionforcertiorariintheUnitedStatesSupremeCourt?             Yes (--1     Nof-xl
             IfççYesy''answ erthefollowing:
             (1)Docketorcasenumber(ifyouknow):
             (2)Result:     .

             (3)Dateofresult(ifyouknow):
             (4)Citationtothecase(ifyouknowl:
             (5)Groundsraised:




        O ther than the direct appeals listed above, have you previously filed any other m otions, petitions, or
        applications,concerningthisjudgmentofconvictioninany court?
         YesI
            --I Norx-l Nothing other than this 5 2255 Motion.
        IfyouranswertoQuestion 10was&tYes,''givethefollowinginformation:
        (a) (1)Nnmeofcourt: x/A
            (2)Docketorcasenumbei(ifyouknow): x/A '
            (3)Dateoftiling(ifyou knowl: x/A
         Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 3 of 22
                                                    THIS PAGE
                                            INTENTIONALLY LEFT BLANK                                Page3
AO 243(Itev.10/07)

            (4) Natureoftheproceeding:
            (5) Groundsraised:                                                                       '




            (6) Didyoureceiveahearingwhereevidencewasgivenonyourmotion,petition,orapplication?
                     yesr'-1      xo r--l
            (7) Result:
            (8) Dateofresult(ifyouknow):
        (b) lfyou filed anysecondmotion,petition,orapplication,givethesameinformation:
            (1) Nnmeofcourt:
            (2) Docketofcasenumber(ifyouknow):
            (3) Dateoffiling(ifyouknow):
            (4) Natareoftheproceeding:
            (5) Groundsraised:




            (6) Didyour.
                       eceiveahearingwhereevidencewasgivenonyourmotion,petition,orapplication?
                     Yesr-1       No r-1
          (7) Result:
          (8) Dateofresult(ifyouknow):
       (c)Didyouappealtoafederalappellatecourthavingjurisdictionovertheactiontakenonyourmotion,petition,
       orapplication?
            (1) Firstpetition:        YesI
                                         --1      No r-1
            (2) Secondpetition:       Yes!
                                         -l       No r-l
          Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 4 of 22
                                                                                                                Page4
AO 243(Rev.10/Q7)

         (d) lfyoudidnotappealfrom theactiononanymotion,petition,orapplication,explainbriefly whyyondidnot




         Forthismotion,state every ground on which you claim thatyou are being held in violation ofthe Constitution,
         laws,ortreatiesoftheUnited States.Attach qdditionalpagesifyou havem orethan fourgrounds. Statethefacts
         supporting each ground.

GROUND OADK: Edgar Alzate Jaramillo's (hereinaftqr ''Movantn) sixth Amendment right
       to reasonably effective assistance of... (contfnued on Addftional Page #1)
         (a) Supportingfacts(Donotargueorcitelaw.Juststatethespecificfactsthatkupportyourclaim .l:
      NarEz Reference to statutes or case cftatlons are not made for any purposes other than to
      establish the fact that such oxq
                                     est and are applfcable as.authority to support Movant's request fcr relfef.
                 I                                                                              .
       (1) The Pnited States Probation Office (USPO) Presentence Investigation Report
       (PSR) identifies Movant as HEdgar Humberto Alzate Jaramillo/'wfth alias HOrgo/'
       ''Ne1y,'' and ''Nene'l (See PSR, page 3);
      * . .. .


        (2) the discovery documents provided to Movant identify a co- conspirator as
        '' - >
          NENEH (See Exhibit B excerpts from discovery proyided to Movant);        .

                                         (continued on Addftional Page #2)



         (b)DirectAppealofGroundOne:
            (1) Ifyouappealedf'
                              rom thejudgmentofconviction,didyouraisethisissue?
                        YC6.V. -....WO.V . .
                 (2) Ifyoudidnotraisethisissueinyourdirectappeal,explain why:



         (c).Post-convictionProceedings:
             (l) Didyouraisethisigsuein any post-convictionmotion,petition,orapplication?
                        yesr-l        xo (-1
                 (2) lfyouanswertoQuestion(c)(1)isCtYes,''state:
                 Typeofm otion orpetition:
                 Nam eand location of1he coul'twhere them otion orpetition w asfled:
Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 5 of 22



                                                                  Additional Page //1
  5 12 GROUNB oNE (continued)
  .. .   counsel, was denied by the ineffective assistance of counsel rendered by

  Attorney Humberto Dominaguez (Atty. Dominguez), and Attorney Todd Xodal (Atty.
  Yodal), that is, b0th Atty. Dominguez and Atty. Yodal failed to investigate
  the facts       Movant's arrest in Colombia and extradition to the United States

  (U.S.) to determine factually       Movant was in fact the Colombian citizen who

  was named fn the indictment brought in the United States District Court for

  the Southern District of Florida, Case No. 1:13-20440-CR-KING-001. Such

  failure to investigate the factual basis for arresting Movant and extraditing

  to the U.S.         trial is a primary obligation of Atty. Domfnguez and Atty.

  Yodal, as set forth in Cuyler v Sullivan, 466          335, 344, 100 S. Ct. 1708,

          (1980)9 Strickland v Washington, 466 U.S. 668 (1984).
Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 6 of 22



                                                                           Additional Page /2

  j12(a) GROUND 0NE Supportfng facts (continued)
           W   M
           NENE is           different person from Nene, and the information used
                   *    W
  associate NENE with Movant is mistaken ;

                        from the mistake in identity that the indictment against Movant

  was issued, causing Movant to be arrested in Colombia and extradited to the

  U .S.;

           the misi
                  tdke '
                       in identfty couldryhàvérlbeenrldiscovered;if eithet of(lMovant1s

  counselpllretvf'
                 eked 'Qith Movant the extradition resolution which would have had
  as       part of the normal extradition process, under the inclusion of the

  colombian            citizen ps,        ncitizenship   identification   card   number,

  XX .XXX .XXX ;

  (6)      had Movant's Atty. Dominguez                  Atty. Yodal filed a Motion seeking:
                       the HPnited States Department of Justice Diplomatfc
                       Note/' filed with the Republic of Colombia, the
                       fact that Movans'y ''Documento Identidad/' in the
                       filing for on MENE would have been dffferent, and
                       at that juncture, before extraditfon, either Atty.
                       Dominguez or Atty. Yodal could have filed a Motion
                       to Dism iss the Indictment and thus withdraw the
                       extradition request; and

  (7)      furthery had Movant 's attorneys filed                 discovery   request for the

  ''Republic of Colombia/' HMinistry                the Interlor and Justice/' ''Resolution''
  and   decree          contained    in   such   HResolution/' the Movant's limitation on
  extradition would have become known regarding the date before which the U.S.

  could not hold Movant responsible for alleged cocafne shipments.

           Atty. Dominguez and Atty. Yodal failed                     advocate for Movant's

  interests by challenging the indictment against Movant and Movant's subsequent

  extradition.
        Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 7 of 22
                                                                                                          Pagc5
AO243(Rev.10/07)

           Docketorcasenumber(ifyouknowl:
           Date ofthe court'sdecision:
           Result(attachacopy ofthecoud'sopinion ororder,ifavailable):


           (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                      yesr-1       Nor-1
                   D idyou appealfrom the denialofyourm otion,petition,orapplication?
                      Yesr-l       Nor-l
           (5) IfyouranswertoQuestion(c)(4)is'$Yes,''didyouraisetheissueintheappeal?
                      YesU-1       No E--I
           (6) IfyouranswertoQuestion (c)(4)is<&Yes,''state:
           N am e arjd location ofthecoul'
                                         twherethe appealwasfiled:


           Docketorcasenumber(ifyouknow):
           Date ofthecourt'sdecision:
           Result(attachacopy ofthecourt'sopinionororder,ifavailable):


           (7) lfyouranswertoQuestion(c)(4)orQuestion (c)(5)isçt
                                                               N oy''explainwhyyou didnotappealorraisethis
           issue:




 GR OIHCD T#?O : Movant's Flfth Amendment Grand Jury clause right was violated...
                                          (contfnued on Addftfonal Page #3)
       (a) Supportingfacts(Donotargueorcitelaw.Juststatethespeciticfactsthatsupportyourclaim.l'
                                                                                              .
          NDTE: Reference to statutes or case citatfons are not made for any purposes other than to
          establfsh the fact that such exv
                                         -st and are applfcable as authority to support Movant's request for relkef.

           (1)       Upcc information asc! belief. Movant. avers that when.the-m
                                                                               --ista
                                                                                    -ke in identifi-
           ca-tion    was discovered, the AUSA prosecutfnz the case and Movant 's attornevs colluded
           to. induce Movant to execute a plea of guilty in return for what the- lawyers stated
           would be a lessor sentence*
                                     ,                                 -                     -
                                           (contfpued on Additfonat Page #4)
Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 8 of 22

                                                               Additional Page //3
  912 GROUND TWO (continued)
                                                 G W
  ...   by the Government in that      indicted NENE believing that person to be

  Movant. Subsequent to being extradicted to the U.S., the Governmect discovered

  the issue of mistaken identity . Upon information and belief, Movant avers that

  there was no other subsequect Grand Jury Indictment returned against Movant,

  before Movant was induced         pleading guilty to one consplracy charge - 21

  P.S.C. 5 963. U.S.C0NST.amend V requfres that:

                No person shall be held to answer for a capital, or
                otherwise infamous crime, unless on a presentment
                or indictment of a Grand Jury, except in ccses
                arising in the land or naval forces, or in the
                Militia, when in actual service fn time of War or
                public danger; nor sball ary person be subject for
                the same offence to be twfce put fn Jeopardy of ljfe
                limb, nor shall be compelled in any criminal case
                to be a witness against himself, nor be deprived of
                life, liberty , or property , witbout due process of
                law; nor shall private property be takec fcr public
                use without compensation .
Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 9 of 22


                                                             Additional Page //4

  912(a) GROUND TWO Supporting facts (continued)
  (2)   Movast was not counseled by his hired attorneys regarding his Fifth
  Amendment Grand Jury Clause rights at any time before or after pleading guilty,

  conviction, or sentencing.
        Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 10 of 22
                                                                                         Page6
AO 243(Rtv.10/07)                                        W IS PAGE
                                               INTEU IONAT.LY LEF.
                                                                 P BKANK
       (b) DirectAppealofGround Two:
           (1) Ifyouappealedfrom thejudgmentofionviction,didyouraisethisissue?
                      YesU-1        No r-1
            (2) lfyoudidnotraisethisissueinyourdirectappeal,çxplain why:


       (c) Post-conviction Proceedings:
           (1) Didyouraisethisissueinany post-convictionmotion,petition,orapplication?
                      Yes(-1        No U-l
            (2) lfyou answertoQuestion(c)(l)is:tYes,''state:
            Type ofm otion orpetition:
            N ame and location ofthe coul'twherethem otion orpetiti6n wasfiled:


            Docketorcasenumber(ifyouknowl:              .
            Date ofthe court'sdecision:
            Result(attach acopyofthecourt'sopinion ororder,ifavailable):


            (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                  Yesr--l No r'-l
                    Did you appealfrom the denialofyourm otion,petition,orgpplication?
                      Yesf'-l       Nor-1
            (5) lfyouranswertoQuestion(c)(4)isçtYes,''didyouraisetheissueintheappeal?
                      Yesr-l        Nor-1
            (6) Ifyouranswerto Question(c)(4)is:çYes,''state:
            N ame and location ofthe courtwhere the appealwasfiled:


            Docketorcasenumber(ifyouknowl:
            Date ofthecourt's decision:
            Result(attachacopy ofthecourt'sopinionororder,ifavailable):
         Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 11 of 22
                                                                                                           Page7
AO 243(Rtv.10/07)

            (7) lfyouranswertoQuestion(c)(4)orQuestion(c)(5)ist% o,''explainwhyyoudidnotappealorraisethis
            issue:    x/A                                                .




G ROUND TH QEE: Movant's sixth Amendment riaht to reasonably effective aasistance of
            counsel...                      (contlnued on Addltlonal Pase #5)
        (a) Supportingfacts(Donotargueorcitelaw.Juststatethespecificfactsthatsupportyourclaim .):
           NaTEz Reference to statutes or case cïtatfons are not aade for any purposes other thnn to
           establfsh the fact thnt such oxlst and are applfcable as authorfty to support Movant's request for relfef.

            (1) The 'lRule of Specialty,'' in connection with Movant's extradftion -r-
                                                                                     equires
            that the requesting S&gte (P.S.) may only proseçute Movant for thq-offqa-8e for
            wh ith Movant was surrendered by Colombia or else the U.S. must allow Movant to
                                                               . -                  -     -



            Jeave the U.S.;

            (2)      because the U.S. indictment was for a persor'other than -Mov-
                                                                                 anta the U.S.
            was obllgated, by treaty to allow Movant...
                                           (contfnued on Addftfonal Page #6)



        (b) DirectAppealofGroundThree:
            (1) Ifyou appealedfrom thejudgmçntofconviction,didyou raisethisissue?
                         '

                     Yesrl
                         ..       Nor-1
            (2) lfyou didn
                         'otraisethisissueinyourdhectappeal,explainwhy:



        (c) Post-convictionProceedings:
            (1) Didyouraisethisissueinanypost-convictionmotion,petition,orapplication?
                     yesg--l      xo r--l
            (2) If'youanswertoQuestion(c)(1)istiYes,''state:
            Typeofmotion orpetition:
            Name and location ofthe coul'
                                        twherethem otion orpetition w asfiled:


            Docketorcasenumber(ifyouknowl:
            Date ofthe court's decision:
Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 12 of 22


                                                                Additional Page //5

   j12 GROUND THkEl (contfnued)
   .. .   was denied by the ineffective assistance     counsel rendered by Atty.

   Dominguez and Atty. Yodal, in regards         failing to advise Movant       an

   additional defense available to Movant, that is, ''Rule of Specialty'' in regard

   to Movantls extradition from the Republïc of Colombfa to the U.S.
Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 13 of 22



                                                                Additional Page //6
912(a) GROUND THQEE Supportfng facts (continued)
          to leave the U.S. without being subjected to pleading guilty tc a charge
   for which he had not been extradfcted;

   (3)     Movant only recently discovered the issue of misidentification and the
   U.s./colombia extradition treaty obligations;
   (4)     Movant was not being held in Colombia on a crime charged under Colombia
   laws at the time of being extradicted to the U.S.;

           Movant on or about November 28, 2017, sent a letter to Atty. Yodal and

   Atty. Dominguez requesting documents to further support these claïms, as

   thjs filing neither Atty. Dominguez nor Atty. Yodal have responded to Movart's

   letter; and

   (6)     Movant respectfully requests that this Court grant the discovery
   requested in Exhibit C - letter to Atty. Dominguez (Atty. Yodal was sent the
   same     letterltsee, Rules Governfng 28 U.S.C. 5 2255 Proceedings, and
   FED.R.CIV.P. Rule 15).
        Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 14 of 22
                                                                                                           Page8
AO243(Rev.10/07)

           Result(attachacopyofthecourt'sopinionororder,ifavailablel:
                                                                                                     p'




           (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                     yesI
                        --I     No F7
           (4) Didyouappealfrom thedenialofyourmotion,petition,orapplication?
                     yesr-1     No (--1
           (5) lfyouranswertoQuestion (c)(4)isRYes,''didyouraisetheissueintheappeal?
                     Yesr-l     NoF-l
           (6) lfyouranswertoQuestion(c)(4)is:tYes,''state:
           N ame and location ofthe courtwherethe appealwasfiled:


           Docketorcasenumber(ifyouknow);           .
           Date ofthe court'sdecision:
           Result(attaohacopy ofthecourt'sopinionororder,ifavailable):


            (7) Ifyouranswerto Question(c)(4)orQuestion (c)(5)istW o,''explainwhyyoudidnotappealorraisethis
            issue:




 GR OUND FOUR : Movant's Fifth Amendment right of Notice arld Due Process , and Sixth
              Amendment right of Due Process...                (continued on Additional page #7)
        (a)Suppohingfacts(Donotargueorcitelaw.Juststatethespecificfactsthatsu/portyour.claim.):
             NoTEz Reference to statutes or case cftations are not made for any purposes cther than to establish
             the fact that such exist and are applfcable as authority to support Môvant's request for relief.

              (1)     The statute that is the basis for M
                                                        .ovant's.conviction under 21 U.S.C. j
              963 is 21 IJ.S.C. j 959;                                                      -    -

              (2)      1 U.S.C. 5 959 (5 959) requires in part. that Movant :
                      2,                                                   .-


                              uintending, khowing or having reasonable case to believe
                                 I          ..
                                             j
                              thak the cont/llïtd'jsubstazce
                                                         j t:.
                                                         '            j
                                                             d t1 be unla            I
                                                                         wfully import-
                              ed into the United States'' (See 21 U.S.C. j 959(b)(2);

                                           (ccntinued on Additfonal Page #8,
                                                                           )
Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 15 of 22


                                                             Additional Page //7

   912 GROUND Fouk (continued)
   . ..   are violated by   the Government's prosecution under 21 U.S.C. 5 963

   predicated on alleged violation          U.S.C.        because as applied

   Movant, j 959 is vague and unconstitutional, as well as the Factual Basis in
   the Plea Agreement does not contain facts to support the essential element of

   the Movant knowing that the alleged cocaine shipments were bound for the

   United States.
Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 16 of 22


                                                              Additional Page //8

   912(a) GROUND FOUR Supporting facts (continued)
         Movant 's Plea Agreement is void of facts to support that Movant had any

   knowledge to where the alleged cocaine would be shipped, nor is there evldence

   to support Movant's foreseeability by the alleged co-conspirators.
       Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 17 of 22
                                                                                         Page9
AO243(Rev.10/0:)                                        THIS PAGE
                                               INTENTIONALLY LEFT BLANK
       (b)DirectAppealofGfound Four:
          (1) lfyouappealedfrom thejudgmentofconviction,didyouraisethisissue?
                     Yesr-1 .      Nor--l
              (2) lfyoudidnotraisethisissueinyourdkectappeal,explainwhy:


       (c)Post-convictionProceedings:
          (1) Didyouraisethisissueinanypost-convictionmotion,petition,orapplication?
                     yesr-1        No r-1

              (2) IfyouanswertoQuestion(c)(1)is$tYes,''state:
              Typeofmotion orpetition:
              N am eand location ofthe courtwherethem otion orpetition wasfiled;


              Docketorcasenumber(ifyouknowl:               '
              Dateofthecourt'sdecision:
              Result(attacharcopyofthecourt'sopinion ororder,ifavailable):


              (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                     Yesg.
                         '-1       No F7
              (4) Didyouappealfrom thedenialofyourmotion,petition,orapplication?
                     yesf--1       No F-1
              (5) lfyouranswertpQuestion(c)(4)isf'
                                                 Yesy''didyouraisetheissueintheappeal?
                     yesI--I       No I--1
          '
              (6) lfyouranswertoQuestion(c)(4)isRYes,''state:
              N am e and location ofthecourtw herethe appealwasfiled:


              Docketorcasenumber(ifyoultnowl:
              D ateofthecourt'sdecision:
              Result(attaoh acopy ofthecourt'sopinionororder,ifavailable):
       Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 18 of 22
                                                                                                           Page10
AO 243(Rev.10/07)

            (7) lfyouranswertoQuestion(c)(4)orQuestion(c)(5)is(9.10,''explainwhyyoudidnotappealorraisethis
            ijsue: sjx




 13. lsthereany ground in thism otion thatyou havenotpreviously presented in som e federalcourt? lfso,which
     ground orgroundshavenotbeen presented,and stateyourreasonsfornotpresentingthem :
             N A
                                                                                  1




 14. Doyouhave'
              anymotion,petition,orappealnow pendina(filedandnotdecidedyet)inany courtforthejudgment
       youarechallenging?        YesZ           No(ïI
       IftçYes,''statethenam eand location ofthecourt,tlze docketorcasenum ber,the type ofproceeding,and the
       ksuesraised.                 '




 15. Givethennm e and address,iflcnown,ofeach atlorney who represented you in thefollowing stagesofthe
       judgmentyou arechallenging:

       (a)Atthepreliminaryhearing; uumberto Rolando Dominguez, Museum Tower, 150 West Flagler
             street, Suite 2850, Miami, FL 33130.
       (b) Atthearraignmentandplea:       same as 15(a)

       (c) Atthetrial: sjx

       (d)Atsentencing:Attv. oominauez and Attv. Todd. 267 Minorca Avenue. coral cables,         -



             FL 33134
       Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 19 of 22
                                                                                                         Pagcl1
AO243(Re#.10/07)

       (e) On appeal:    N/A

       (:
        t) lnanypost-convictionproceeding: pro se                                              .

       (g)Onappealfrom anyrulingagainstyouinapost-convictionproceeding: x/A



 16. W ereyou sentenced on morethan one courtofan indictm ent,oron m orethan one indictm ent in thesame court
       andatthesametime?           YesZ          NoZx
       Doyouhaveany futuresentencetoserveaAeryùu completethesentenceforthejudgmentthatyouare
       challenging?         YesZ           NoQ
       (a) lfso,givenameandlocation ofcoul'tthatimposedtheothersentenceyouwillserveinthefuture:
           5/A

       (b) Givethedatetheothersentencewasimposed:    sjx
       (c) Givethelengthoftheothersentence: sjx
       (d)Haveyoufiled,ordoyouplantofile,anymotion,petition,orapplicationthatchallengesthejudgmentor
        sentencetobeservedinthefuture?         Yesr7          NoII'
                                                                  -I
       Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 20 of 22
                                                                                                                      Pugt 12
AO243(Rev.10/07)

 )8. TIMELINESSOFMOTION:lfyourjudgmentofconvictionbecamefmaloveroneyearago,youmustexplain
     whytheone-yearstatuteoflimitationsascontainedin 28U.S.C.j2255doesnotbaryourmotion.*
           Movant's First 28 U.S.C. j 2255 Motion is filed within one (1) year of the
           geriod of limitations established by 28 P.S.C. 5 2255(f)42) or 5 2255(f)(4).




     *TheAntiterrorism andBffectiveDeathPenalty Actof1996CCAEDPA'')ascontainedin28U.S.C.j2255,
     parAagone-
           raphyea
                6,p
                  rroviidod
                   per    esof
                            inhmi
                               yarttthiaon
                                    at   t:shallapply to am otion underthissection. The lim itation period shallrun
        frorn the latestof-
            (1) thedateonwhichthejudgmentofconvictionbecamefinal;
            (2) thedateonwhichtNeimpedimenttomakingamotioncreatedbygovenunentalactioninviolationof
            the Constitution orlaw:oftheUnited Statesisrem oved,ifthe povantwasprevented from m akingsuch a
            motion by such governmentalaction;
            (3) thedateonwhichtherightassertedwasinitiallyrecognizedbytheSupremeCourt ifthatrighthas
            been newly recognized by the Suprem e Courtand m ade retroactively applicableto caseson collateral
            review ;or
            (4) thedateonwhichthefactssupporting1heclaim orclaimspresented could have been discovcred
            tlgough theexeroiseofdue diligence.
       Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 21 of 22
                                                                                                         Pagt l3
AO243(Re#.10/07)


Therefore,movantaskslhattheCourtgrantthefollowingrelief: (1) Vacate Movant's sentence and
      immediately deport Movant to the Republic of Colombia.

orany otherreliefto which movantm ay be entitled.




                                                                   None
                                                             SignatureofAttorney(ifany)


1declare(orcertify,verify,orstate)underpenaltyofperjurythattheforegoingistrueandcorrectandthatthisMotion
under28U.S.C.52255wasplacedintheprisonmailingsystemon              oecemberX'-% 2017                          '
                                                                            (monih,date,year)



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                                                             Si     re ofh4ovant
                                                            Edg r Alzate Jaramillo

 lftkeperson signing isnotm ovant,staterelationship tom ovantand explain why m ovantisnotsigningthismntion.
 Case 1:13-cr-20440-JLK Document 64 Entered on FLSD Docket 02/13/2018 Page 22 of 22


                           REQW ST O R EVD ENTIARY TIRAQTNG

  Movant requests that this Honorable Court hold an evidentfary hearing so that

any and a11 non-record facts and allegations may be developed and established for

this Court to properly address and review the issueé set forth in this motion.



                          MOTION FOR APPOTNTMENT OF COUNSEL


  Movant, pursuant to the Crlminal Justice Act (18 U.S.C. 93006A) requests that
this Court appoint counsel to represent him in his 28 U.S.C. 92255 Motion
proceedings for the following reasons:


      Movant is incarcerated and fs not able to afford counsel as he has no moneyy
      assets, nor property to compensate an attorney ;
       The legal issues presented in this case are complex and Movant is not trained
       in law ;                    '
       The issues in this case may request further investigation which the Movant
       cannot do whfle confined in prison;

   4. Movant believes that he is entitled to an evidentiary heafing in this Court;
      and if grantedy he does not have the training in the lawy and Court rules,
      to property conduct such a hearing;

   5. The eneds of justice would best be served in this case if an experienced
       attorney was appointed to represent the Movant in this matter.


                                  QNI.IEF REQUESTRD
  Movant prays that this Honorable Court grant him the benefit of aù attorney to

represent him in these 28 U.S.C- 52255 proceedings before the Court.



     December    , 2017                                     #
                                                            .
                                           Movant     .'
                                             Edg r Alzate Jaramillo
                                             Reg. //06201-104
                                             FCI Beaumont Low
                                             P.O. Box 26020
                                             Beaumont, TX 77720-6020
